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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

                                         )
DYSON, INC.,                             )
                                         )
            Plaintiff,                   )   Case No.: 1:14-cv-09442
                                         )
      v.                                 )   Judge: Honorable Joan B. Gottschall
                                         )
SHARKNINJA OPERATING LLC and             )   JURY TRIAL DEMANDED
SHARKNINJA SALES COMPANY,                )
                                         )
            Defendants.                  )
                                         )

               DYSON’S MEMORANDUM OF LAW IN SUPPORT OF ITS
                      MOTION FOR SUMMARY JUDGMENT
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I.       INTRODUCTION

         Much has changed since this Court last considered Shark’s claim that “independent lab

tests prove” that the Shark Rotator Powered Lift-Away (“NV650”) “cleans carpets better than

Dyson’s best vacuum.” Although denying a preliminary injunction in March 2015, the Court

aptly raised questions about whether “Intertek was, in fact, an ‘independent’ testing facility,”

“question[ed] the series of events that led to [Intertek technician Steven] Reese’s July 17 email”

about which settings to use, and found “flatly inconsistent” and “unconvincing” Shark’s claim

that it always intended consumers to use the middle/highest-suction setting as the default for all

types of carpet. (Dkt. 118 at 25, 47-48, 53.) Those questions lingered until Shark made its

document production in this case on December 4, 2015. Immediately thereafter, it became clear

why Shark had delayed its production: Shark’s previously-withheld communications and emails

belie the positions it took before this Court, confirm the falsity of Shark’s superiority claim, and

support a grant of summary judgment in Dyson’s favor.

         First, Dyson seeks summary judgment that Shark’s carpet cleaning superiority claim is

literally false because—despite Shark CEO Mark Rosenzweig’s repeated proclamations to

consumers—Shark did not have “independent lab tests to back it up.” Dyson has always

contended that because the NV650 directed consumers to use different settings based on whether

the carpet was “high pile” or “low pile,” a proper ASTM F608 test requires using different

settings on the NV650 for different carpet heights. But during the preliminary injunction stage,

Shark adamantly disagreed and Shark’s head of testing (Karyn Medler) went so far as to swear

under oath that Intertek did not perform any NV650 testing in the lower-suction mode. Instead,

Shark testified that because its instructions were unclear, Intertek was required to ask Shark

which setting was intended for use on the test carpets. We now know that none of that was

truthful. For the first time in December 2015,

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                        —and then acted as if none of that had ever happened during the

preliminary injunction.1 By expressly instructing Intertek to deviate from the standard and run

its ASTM F608 tests in all high-suction mode, Shark never had “independent” lab testing at all,

preferring instead to use the appearance of “independence” to sway consumers about the merit of

its “cleans carpets better” claim. By building its advertising claim upon “independent lab tests,”

Shark’s claim must be found literally false where those tests were undeniably steered by Shark

personnel,




1
    Shark provided a deposition and testimony from Intertek representative Alex Porter, who
    also claimed to be unaware of any testing in the lower-suction mode. Although not
    personally involved in Intertek’s NV650 testing, it has also come to light that two days
    before Porter testified,
                       (SOF 41.) Indeed, it has even come to light that Shark paid for Mr. Reese
    to meet with Shark’s counsel and be in Chicago for the preliminary injunction hearing, yet
    never offered him as a witness nor even revealed that he was sitting unannounced with Shark
    in the back of the courtroom. (SOF 42.) It now appears obvious why Shark did not produce
    the emails reflecting Mr. Reese’s determination of the settings, did not make him available as
    the Intertek deponent, never identified him in the courtroom, and did not call him to the stand
    (even though it paid him to work with Shark’s lawyers in Chicago during the hearing)—
    because any one of those would have caused Shark’s position at the preliminary injunction
    hearing to unravel.

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        In fact, we now know why Shark originally called the low-suction setting “Carpet” and

just how inconsistent and incredible Shark’s testimony was that it always intended consumers to

use the high-suction Turbo setting as the default. Documents previously withheld or redacted

during the preliminary injunction have confirmed that




As late as the day that the NV650 launched, Shark was struggling with how it could make the

accused “cleans carpets better” claim against the DC65 when it knew that (i)




2
    As the Court noted, “third-party” labs are not necessarily “independent.” (Dkt. 118 n. 14.)

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       Shark’s late-produced documents reveal why Shark issued the instructions it did and why

Shark overrode Intertek’s independent decision on the settings. Moreover, they reveal the

lengths to which Shark went internally and before this Court to try to maintain a “cleans carpets

better” claim that it knew was inconsistent with the instructions and intended use for the NV650.

       Second, in addition to Shark’s absence of “independent” testing, it is undisputed that

Shark lacks any testing to substantiate its accused ad claim for (i) the over one-month period

from the NV650’s launch until Shark obtained its Intertek testing, and (ii) with respect to its

claim to beat “Dyson’s best vacuum,” after the launch of Dyson’s re-engineered Ball Multi-Floor

in April 2015. Indeed, even Shark’s own ASTM F608 testing shows the NV650 losing to the re-

engineered Ball Multi-Floor, and Shark has no testing to support a claim to clean carpets better

than that vacuum Accordingly, Dyson seeks summary judgment on liability for those two time

periods.

       Third, Shark continues to assert various affirmative defenses that have no legal or factual

support and should be removed from the case at summary judgment. For instance, Shark’s

unclean hands defense revolves squarely around whether Dyson moved quickly and reasonably

to remove its “Twice the Suction” claim from the market. Yet, that allegation (which is the

subject of the separate Massachusetts litigation) has no relationship to Shark’s rigged testing and

false superior carpet cleaning claims. Lacking the direct nexus required for an unclean hands

defense, summary judgment should be granted on that defense. Shark also pled boilerplate

defenses of laches, waiver and estoppel in its Answer, yet did nothing during discovery to pursue

those defenses, and its corporate representative failed to identify legally-sufficient facts to

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support them. Without any laches, waiver or estoppel evidence, summary judgment should be

granted.

II.      FACTUAL BACKGROUND

         A.      Shark’s False and Unsupported “Cleans Carpets Better” Claim

         In July 2014, Shark launched the NV6503 with a bold and pervasive advertising

campaign telling consumers that “independent lab testing” proved that the NV650 “deep cleans

carpets better than Dyson’s best vacuum.” (SOF 7-17.) That claim was ostensibly based on

testing of the Shark NV650 and Dyson DC65 performed by a third-party, Intertek, pursuant to an

industry-accepted standard, namely ASTM F608-13. (SOF 29.) Shark made its “cleans carpets

better” claim on product packaging, its Shark Clean website, videos on its Shark Clean YouTube

channel, television commercials, online banner ads, print ads in national magazines, and a 30-

minute infomercial that ran repeatedly on multiple channels. (SOF 8-16.)

         In the ubiquitous 30-minute infomercial, Shark repeatedly flashes imagery telling

consumers that the Shark’s “cleans carpets better” claim is supported by independent lab tests.

(Dkt. 118 at 16-18.) In addition to the “independence” of Shark’s testing being touted on screen,

Shark’s CEO, Mark Rosenzweig, also told consumers no less than three times that Shark’s claim

was based on “independent” lab tests. Indeed, Mr. Rosenzweig told consumers that “[i]n fact,

my new Rotator Powered Lift-Away has more suction and deep cleans carpets better than

Dyson’s best vacuum,” and that he had “the independent lab tests to back it up,” immediately

followed by imagery of a technician allegedly performing ASTM F608 tests on the NV650 and

DC65. (SOF 11-12.) The demo is accompanied by Mr. Rosenzweig’s voice-over stating, “[w]e


3
      Shark recalled the NV650-series, which included the NV650, NV651 and NV652, due to an
      electrical shock risk, and replaced that vacuum with the NV750-series. (SOF 7, 49.) Shark
      relies upon the same testing to substantiate its NV750 claims as its NV650 claims. (SOF 49.)

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asked independent testing facilities to conduct the one and only industry-recognized test of

carpet cleaning and we went head-to-head with Dyson’s best. Both vacuums were tested on four

of the most commonly-owned carpet types in America, and when all is said and done, the

independent lab tests prove, without question, that our new Shark Rotator Powered Lift-Away

deep cleans carpets better than Dyson’s best $600 vacuum.” (Id.) In short, Shark repeatedly

claimed that “independent” lab tests prove the NV650 cleans carpets better than Dyson’s “best”

vacuum.

       B.      Shark’s Substantiation Testing Is Not “Independent”

       Despite Shark’s bold proclamation, it never had “independent lab tests to back it up,”

because, among other reasons, Intertek’s testing in this case was not independent. Shark has

been working with Intertek for years, pays Intertek                              annually for testing,

and as shown below, is anything but independent. (SOF 47.)

       First, the decision regarding what settings to use for Intertek’s ASTM F608 test of the

NV650 were made by Shark, not Intertek. Indeed, Shark overrode Intertek’s determination of

the setting that should be used in order to achieve a better test score for Shark. The Court will

recall that the NV650 features a surface selector on the handle that allows users to choose

different suction depending on the floor type on which the vacuum is being used. (SOF 18-19.)

In July 2014, when Shark launched the NV650/651, the owner’s manual that shipped in the box

instructed consumers to choose different settings based on carpet pile height:




                                                6
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                                                                                         (SOF 37-

39.) In other words, the so-called “independent” lab did not run the test according to ASTM

F608, i.e., it did not run the test in the manner that Intertek itself determined it should be run—

instead Intertek ran the test in the manner Shark ordered, which was inconsistent with the manual

and was the only way that Shark could claim to “beat” Dyson. (SOF 34, 37-39.)

       Second, additional late-produced Shark documents reveal that, in contravention of ISO

standards,




                 (SOF 45.) In other words,




       Third, without prompting,



                                             (SOF 46.) In other words,



       C.      Shark’s Litigation-Inspired Manual Changes

       From the launch of the NV650 through at least the date that Dyson filed suit, Shark

instructed consumers to use the surface selector settings on the NV650 according to carpet pile

height, per its original manual. (SOF 18-20.) After Dyson filed suit, Shark’s dissembling began.

As an initial matter, in an immediate response to the lawsuit, in December 2014, Shark uploaded

to its website a “surface selector guide” and created a new user manual that told consumers—for

the very first time—that the “Carpet / Low Pile” setting was “the default carpet setting” for

cleaning “normal” carpets. (SOF 22, 23.) However, Shark did not notify NV650 owners about

                                                8
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the new instructions, did not distribute the new instructions to registered owners, and did not

place the new instructions in existing product packaging in its warehouses. (SOF 24, 25.) Only

after Dyson made that point and Shark faced the potential of an injunction did Shark send an

email to consumers who had registered their vacuums with Shark about the new instructions,

doing so on February 2, 2015, seven months after the product launched and the day before

closing arguments at the preliminary injunction hearing. (Dkt. 92 ¶ 5a.) That delay was not

inadvertent. Despite telling this Court that Shark always wanted consumers to use the “Turbo”

or “Carpet / Low Pile” setting on all “normal” carpets—discovery demonstrated that to be false:




                                        (SOF 32, 34.)

       D.      Shark Has No Testing To Support Its Claims Against The Ball Multi-Floor

       At the time that Shark launched the accused false claim, Dyson’s best vacuum for carpet

cleaning was the DC65, which was renamed the Ball Multi-Floor in January 2015. In April

2015, Dyson improved that machine and began selling the re-engineered Ball Multi-Floor, which

replaced the DC65 as Dyson’s “best” in terms of carpet-cleaning performance under ASTM

F608. (SOF 26; Dkt. 308 at 9 (“Accordingly, for the purposes of this lawsuit, ‘best’ is a qualifier

associated with (1) the DC65 and the re-engineered Ball Multi-Floor and (2) carpet cleanability

comparative testing under ASTM F608 . . . ”).)          Although Dyson did not begin actively

promoting the re-engineered Ball Multi-Floor until June 2015, in April it sent that machine into

the market in order to achieve early market penetration before it officially “launched” and began

advertising that new machine, because Dyson wanted to ensure that when it began actively

promoting the product, retailer shelves were filled with the improved machine. (SOF 26, 27.)

       Despite these updates in the market, Shark continued to expressly tell consumers that the

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NV650 “cleans carpets better” than “Dyson’s best vacuum” long after April 2015. (SOF 8, 10,

58.) But Shark concedes that it has no “reliable” testing to support its claim with respect to the

re-engineered Ball Multi-Floor. (SOF 52-56.) In fact, the testing Shark did perform illustrated

that the Ball Multi-Floor outperforms the NV650 under ASTM F608. Despite having those tests

before the summer of 2015, Shark continued to run its claims against “Dyson’s best vacuum” in

its infomercial until August 2015 and on its Shark Clean website until January 2016. (SOF 8.)

And beyond its belated removal of the claim from its infomercials and website, Shark’s false

claim remains on the market today: Shark’s packaging for the NV650 still boldly claims that it

outcleans Dyson’s best vacuum, when Shark knows full well that it has no testing to support

such a claim. (SOF 10.) Indeed, its testing shows the opposite. (SOF 52-56.)

                                         ARGUMENT

I.       LEGAL STANDARD

         Summary judgment is proper if “there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law.” Fed. R. Civ. Pro. 56(a). After a properly

supported motion for summary judgment is made, the adverse party “must set forth specific facts

showing that there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

250 (1986). A genuine issue exists if “the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.” Id. at 248. A party will only be successful in opposing

summary judgment “when it presents definite, competent evidence to rebut the motion.” Albiero

v. City of Kankakee, 246 F.3d 927, 931-32 (7th Cir. 2001) (emphasis added). Conclusory

statements ungrounded in specific facts are insufficient to avoid summary judgment. Anderson,

477 U.S. at 256 (1986); Lucas v. Chicago Transit Authority, 367 F.3d 714, 726 (7th Cir. 2004).




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II.      DYSON IS ENTITLED TO SUMMARY JUDGMENT THAT SHARK’S “DEEP
         CLEANS CARPETS BETTER” CLAIM IS LITERALLY FALSE

         Dyson succeeds on its Lanham Act claims by proving that: (1) Shark made a false

statement of fact; (2) the statement actually deceives or has the tendency to deceive a substantial

segment of its audience; (3) the deception is material in that it is likely to influence the

purchasing decision6; (4) Shark touted goods entering interstate commerce7; and (5) the

statement results in actual or probable injury to the plaintiff. See Hot Wax, Inc. v. Turtle Wax,

Inc., 191 F.3d 813, 819 (7th Cir. 1999) (affirming summary judgment on a Lanham Act claim)

(citing B. Sanfield, Inc. v. Finlay Fine Jewelry Corp., 168 F.3d 967, 971 (7th Cir. 1999)).8

         A.      Shark’s Accused Ad Claim Is Literally False As A Matter Of Law

         The accused ad claim is indisputably an establishment claim because Shark tells

consumers that it had “independent lab tests” to support its claim of superiority. (SOF 9-15.) “A

Lanham Act plaintiff bears the burden of proving literal falsity, but the proof sufficient to meet

this burden will vary depending upon the statement made. If the challenged advertisement

makes implicit or explicit references to tests, the plaintiff may satisfy its burden by showing that

6
      Because Dyson has alleged that the accused ad claim is literally false, if Dyson is able to
      prove literal falsity, it is entitled to a presumption of consumer deception. Market Track,
      LLC v. Efficient Collaborative Retail Marketing, LLC, No. 14 C 4957, 2015 WL 3637740, at
      *20 (N.D. Ill. June 12, 2015) (“If the challenged statement is shown to be ‘literally false,’
      [Plaintiff] need not show that any customer was actually deceived.”) (citation omitted).
7
      Shark does not dispute—and could not reasonably dispute—that it made the claims at-issue
      in commercial advertising and caused them to enter interstate commerce. (SOF 5, 17.)
8
      Dyson’s state law claims (Counts II and III) rise and fall with Dyson’s Lanham Act claim
      (Count I). Because Dyson has established liability under Count I, Dyson is also entitled to
      summary judgment on Counts II and III. SB Designs v. Reebok Int’l Inc., Ltd., 338 F. Supp.
      2d 904 (N.D. Ill. 2004) (“Claims for unfair competition and deceptive business practices
      brought under Illinois statutes are to be resolved according to the principles set forth under
      the Lanham Act. Furthermore, “[a] common law unfair competition claim need not be
      separately addressed since it is codified by the Deceptive Trade Practices Act.”) (citing
      Gimix, Inc. v. JS & A Group, Inc., 699 F.2d 901, 908 (7th Cir. 1983)).

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those tests do not prove the proposition; otherwise, the plaintiff must offer affirmative proof that

the advertisement is false.” BASF v. Old World Trading Co., Inc., 41 F.3d 1081, 1090 (7th Cir.

1994). Here, the undisputed facts show that Dyson is entitled to summary judgment for three

independent reasons. First, Shark had no substantiation testing for the entire time period that the

accused ad claim was in the market because Intertek was not “independent,” as Shark expressly

claims in its advertising. Second, there can be no dispute that the accused ad claim was

unsubstantiated from July 8 to August 12, 2014 because Shark had no substantiation testing

during that time period. Third, Shark has no testing that shows that the NV650 beats the re-

engineered Dyson Ball Multi-Floor under ASTM F608.

               1.      Shark’s Claim Is Literally False Because Intertek’s Testing Was Not
                       “Independent”

       As the Court may recall, one of the primary disputes between the parties during the

preliminary injunction hearing was whether the NV650—in view of the instructions in the

product’s manual—should be tested on the high-suction setting for all four ASTM F608 carpets

as Shark contended, or whether it should be tested on a low-suction setting for at least shag

carpet, as Dyson contended. (SOF 30, 31; Dkt. 51 at 10–11 (“It is these thicker types of

carpets—which may require reduced suction to maneuver and clean effectively—for which

[SharkNinja] designed its ‘Thick Carpet/Area Rug’ setting.”).) At the preliminary injunction

proceedings, both Shark and Intertek provided testimony that Intertek never tested the NV650

using the high-pile/low-suction setting, because (Shark argued) that is not the proper way to

conduct the test. (SOF 35, 40.) Specifically, Karyn Medler testified

                                                               . (SOF 35.) Similarly, Intertek’s

corporate representative, Alex Porter, testified at his deposition during the preliminary injunction

phase that


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                3.     Shark Has No External Testing That Supports Any Superiority Claim
                       Following Dyson’s Launch Of The Re-Engineered Ball Multi-Floor

         Similarly, Shark has no independent testing to support its claim that the NV650 “deep

cleans carpets better” than the re-engineered Ball Multi-Floor, which became Dyson’s

“best” vacuum for carpet cleaning when it began selling into the market in April 2015. (SOF

26.) (Dkt. 308 at 9 (“[F]or purposes of this lawsuit, ‘best’ as a qualifier is associated with (1) the

DC65 and the re-engineered Ball Multi-Floor . . . .”) Shark takes the position that, despite

advertising that it has tests showing the NV650 beats Dyson’s “best” vacuum, it does not have

any testing on the Ball Multi-Floor. That is only partly true. Shark produced various test reports

comparing the performance of the re-engineered Ball Multi-Floor and the NV650, but Shark

claims none of those tests—all of which show that the re-engineered Ball Multi-Floor out-

performs the NV650 under ASTM F608—is reliable.

         Shark produced ASTM F608 testing performed in May 2015 by Intertek, which shows

that the

                         . (SOF 52, 53, 56.) At her deposition, Ms. Medler nevertheless testified

that

                                                                                         . (SOF 28,

53, 56.) Admittedly,




                                    . (SOF 53, 56.)12 In June 2015, Shark asked Intertek


12
      Shark also produced Intertek testing performed in June 2015 a two-unit test on the re-
      engineered Ball Multi-Floor and the NV650 on two of the four ASTM F608 carpets—multi--
      level and plush. (SOF 54, 56.) The testing similarly showed that the re-engineered Ball
      Multi-Floor scored higher on both the multi-level and plush carpets than the NV650. (Id.)

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                                                                             . (SOF 55.)



                                                      (SOF 55, 56 (



                                                                       . (SOF 54.) In short, Shark

has significant data on the comparative performance of the Ball Multi-Floor versus the NV650

illustrating that the Ball Multi-Floor is Dyson’s best vacuum under ASTM F608 and that it

cleans carpets better than the NV650. Despite having this information, Shark put its head in the

sand, challenged the veracity and reliability of its own testing, and left the false claim in the

market.

       But Shark cannot avoid liability by arguing that its own testing was not reliable: The

accused ad claim is indisputably an establishment claim and Shark must have independent tests

in hand to substantiate the claim against the re-engineered Ball Multi-Floor. BASF, 41 F.3d at

1090 (affirming district court’s determination that ad claim was literally false where advertiser

“had not run all of the appropriate tests” to substantiate establishment claim); Rhone-Poulenc

Rorer Pharm., Inc.v. Marion Merrell Dow, Inc., No. 93-0144-CV-W-1, 1994 WL 16799629, at

*5 (W.D. Mo. Sept. 30, 1994), aff’d in part, vacated in part on other grounds, 93 F.3d 511 (8th

Cir. 1996) (“An establishment claim is either true or false. The advertiser either has the claimed

substantiation or it does not.”). Indeed, Shark has no such testing against the re-engineered Ball

Multi-Floor, and on this basis alone, Dyson is once again entitled to summary judgment.

Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck Consumer Pharms. Co., 290 F.3d

578, 590 (3d Cir. 2002) (“[A] court may find that a completely unsubstantiated advertising claim

by the defendant is per se false without additional evidence from the plaintiff to that effect.”).



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        B.     Shark’s Carpet-Cleaning Superiority Claims Are Material To Consumers,
               And Are Likely To Influence Their Purchasing Decisions

        There can be no dispute in this case that Shark’s accused ad claim touting that

“independent lab tests prove” its superior carpet-cleaning message is material to consumer

purchasing decisions. To be sure, Shark agrees—in summary judgment briefing in the separate

Massachusetts case, Shark argued that it was entitled to a presumption of materiality for Dyson’s

“Twice the Suction” claim because the cleaning ability of a vacuum is the “raison d’etre for a

vacuum cleaner.” (Case No. 1:14-cv-13720, Dkt. 173, at 11.)

        Further, multiple Shark executives and high-level employees admitted what is manifestly

obvious: Carpet-cleaning ability and the so-called independent tests proving it is important to

consumers’ purchasing decisions for vacuum cleaners. For example, Shark’s President, Mark

Barrocas, testified

                          (SOF 59.) Shark’s Senior VP of Product Marketing, Dan Bilger also

testified



                                           (Id.) Shark’s owner and CEO, Mark Rosenzweig,

similarly testified



                             (Id.) Courtney Hopkins, Shark’s Vice President of Marketing for

vacuum cleaners, testified

                                                                           .”   (Id.)   Both Mr.

Rosenzweig and Mr. Barrocas also emphasized the importance to consumers of making a claim

that is supported by “independent” tests. (SOF 60–63.) Indeed, Shark President, Mr. Barrocas,




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                                                                                  (SOF 60.)



                                                                                  (SOF 61.)

       C.      Shark’s False Advertising Results In Actual Or Probable Injury To Dyson

       Dyson also has suffered a discernable competitive injury, and is likely to continue to be

injured, as a result of Shark’s accused ad claim. To show a competitive injury under the Lanham

Act, a plaintiff must be a direct competitor of the defendant. Doctor’s Data, Inc. v. Barrett, No.

10 C 03795, 2011 WL 5903508, at *5-6 (N.D. Ill. Nov. 22, 2011); L.S. Health & Son, Inc. v.

AT&T Info. Sys., Inc., 9 F.3d 561, 575 (7th Cir. 1993). Shark and Dyson are, undisputedly,

direct competitors in the vacuum market. (SOF 64.) Indeed, Shark’s accused advertising claims

target Dyson’s competing vacuums, and as a result, Dyson is entitled to a presumption of harm.

(SOF 8-16.) See, e.g., Castrol, Inc. v. Quaker State Corp., 977 F.2d 57, 62 (2d Cir. 1992) (“We

will presume irreparable harm where plaintiff demonstrates a likelihood of success in showing

literally false defendant’s comparative advertisement which mentions plaintiff’s product by

name.”).

       Here, because Dyson’s and Shark’s vacuums are sold in many of the same retail

environments, their vacuums often appear side-by-side on store shelves and on retailer web

pages. (Dkt. 167 at 24.) As a result, consumers are able to consider both Dyson and Shark

vacuums and compare their claims with one another when deciding which vacuum to purchase.

Shark’s literally false claim that its vacuum “cleans carpets better” than Dyson’s “best vacuum”

results in a discernable competitive injury to Dyson:

   •   Consumers in the market to purchase a Dyson vacuum may instead choose a less
       expensive Shark vacuum if they are induced by Shark’s false advertising to believe that
       they can get better cleaning performance from a Shark versus a Dyson. Indeed,

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and the issues in this case, as none exists. Dyson’s voluntary removal of a previously-true

suction claim, on the one hand, and Shark’s ongoing false carpet-cleaning claims, on the other,

bear no relation to each other. Summary judgment is therefore appropriate as a matter of law.

       The doctrine of unclean hands “only applies when there is a direct nexus between the bad

conduct and the activities sought to be enjoined.” Intertek USA Inc. v. AmSpec, LLC, No. 14 CV

6160, 2014 WL 4477933, at *7 (N.D. Ill. Sept. 11, 2014); see also Sullens v. Graham, No. 14

CV 866, 2014 WL 6765138, at *2 (N.D. Ill. Dec. 1, 2014) (“[T]he plaintiff’s wrong must be a

willful act concerning the cause of action such that plaintiff is tainted with inequitableness or

bad faith relative to the matter in which he seeks relief.”) (emphasis added, internal quotation

and citation omitted). “The goal of the unclean hands defense is to prevent the plaintiff from

acting unfairly, deceitfully, or in bad faith, and then coming to court to seek to gain from his

transgression.” Sullens, 2014 WL 6765138, at *2 (emphasis added) (citing Young v. Verizon’s

Bell Atlantic Cash Balance Plan, 615 F.3d 808, 822 (7th Cir. 2010)). Shark cannot establish a

“direct nexus” as a matter of law. Dyson’s claim for relief against Shark relates to Shark’s false

carpet-cleaning advertising claims, whereas Shark’s unclean hands defense relates to Dyson’s

voluntary removal of its “Twice the Suction” claim. The only connection between Dyson’s

claim against Shark and Shark’s defense is that Dyson’s claim relates to the falsity of the accused

ad claim made in connection with the NV650, while Shark’s defense relates to the speed of

Dyson’s removal of a suction-related ad claim from the market following the release of the

NV650. (Dkt. 187.) But the mere fact that both Dyson’s claim and Shark’s defense involve the

NV650 is not sufficient for Shark to show that its defense arises out of the same transaction or

occurrence as Dyson’s pled false advertising claim. See, e.g., Safe Bed Techs. Co. v. KCIUSA,

Inc., No. 02 C 0097, 2003 WL 21183948, at *2 (N.D. Ill. May 20, 2003) (granting motion to



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strike unclean hands defense where the alleged misconduct is not “directly related to the

transaction at issue”); MPC Containment Sys., Ltd. v. Moreland, No. 05 C 6973, 2008 WL

1775501, at *6 (N.D. Ill. Apr. 17, 2008) (“[T]he alleged misconduct dirtying the hands of the

plaintiff must occur in the context of the present lawsuit.”). Indeed, this Court has already held

that “Dyson’s contention that Euro-Pro’s claims about the cleaning ability of the ‘Shark Rotator

Powered Lift-Away’ vacuum are inaccurate do not arise out of Euro-Pro’s contention that Dyson

inaccurately claimed that the DC65 has ‘twice the suction’ of competing vacuums, including the

‘Shark Rotator Powered Lift-Away.’” (Dkt. 65 at 11-12.) Thus, as a matter of law, Shark’s

unclean hands defense fails and summary judgment should be granted to Dyson.

IV.    SHARK OFFERS LEGALLY INSUFFICIENT EVIDENCE TO SUPPORT ITS
       LACHES, ESTOPPEL, AND WAIVER DEFENSES, AND DYSON IS ENTITLED
       TO SUMMARY JUDGMENT ON THESE DEFENSES

       The Court also can dispose of several of Shark’s affirmative defenses, as fact and expert

discovery have closed and Shark presented legally insufficient evidence to support the defenses.

See, e.g., Integrated Cards, LLC v. McKillip Indus., Inc., No. 06 C 2071, 2008 WL 3286981, at

*2, *7 (N.D. Ill. Aug. 8, 2008) (deciding laches and estoppel on summary judgment); Granite

State Ins. Co. v. Smart Modular Techs., Inc., 76 F.3d 1023, 1027 (9th Cir. 1996) (“A litigant is

not entitled to have a jury resolve a disputed affirmative defense if the defense is equitable in

nature.”).

       A.      The Court Should Grant Summary Judgment On Shark’s Laches Defense

       Shark cannot meet its “burden of demonstrating that laches should apply.” See Hot Wax,

Inc. v. Turtle Wax, Inc., 27 F. Supp. 2d 1043, 1050 (N.D. Ill. 1998). To prevail on its laches

defense, Shark must show both that: (1) Dyson delayed filing suit for an unreasonable and

inexcusable length of time from the time it knew or reasonably should have known of its claim

against Shark; and (2) the delay operated to the prejudice or injury of Shark. See Dyson, Inc. v.

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Bissell Homecare, Inc., 951 F. Supp. 2d 1009, 1036 (N.D. Ill. 2013) (granting Dyson’s motion

for summary judgment on laches defense); Hot Wax, 191 F.3d at 822. Shark cannot prove either.

       First, Shark made the advertising claims at issue in the Complaint, at the earliest, in July

2014. (SOF 7.) For the purpose of proving laches under both the Lanham Act and Dyson’s state

law claims, courts apply the closest relevant state-law statute (in Illinois, three years) for

determining whether the delay was presumptively unreasonable. See Hot Wax, 191 F.3d at 821

(“[C]ourts have used [] analogous [state] limitations period as a baseline for determining whether

a presumption of laches exists.”); Native Am. Arts, Inc. v. Chrysalis Inst., Inc., No. 01 C 5714,

2002 WL 441476, at *3 (N.D. Ill. Mar. 21, 2002) (Illinois Consumer Fraud Act provides a three-

year period and is the closest state statute to the Lanham Act). Dyson filed its Complaint on

November 25, 2014, (Dkt. 1), and is well within the three-year statutory period as a matter of

law. Hot Wax, 191 F.3d at 821 (“[Laches] ‘presumes’ that an action is barred if not brought

within the period of the statute of limitations and is alive if brought within the period.”).

       Second, Shark has not identified a basis for any alleged prejudice that it has suffered as a

result of Dyson’s alleged delay, and its corporate representative on the defense was entirely

silent on the issue of prejudice. (SOF 70-72.) This was for good reason—Shark could not

credibly allege that it would have changed its actions had Dyson sued earlier, because Shark

continued its false advertising after Dyson did sue. (SOF 8, 10, 58.) Summary judgment is

appropriate. Persis Int'l, Inc. v. Burgett, Inc., No. 09-C-7451, 2012 WL 4176877, at *4 (N.D. Ill.

Sept. 18, 2012) (denying laches claim at summary judgment where no evidence of prejudice was

alleged or presented).

       B.      The Court Should Grant Summary Judgment On Shark’s Waiver Defense

       Shark must establish both that Dyson “intentional[ly] relinquish[ed] a known right” and

that Dyson “manifested [that intention to Shark] in an unequivocal manner” to prevail on its

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waiver defense. Isringhausen Imp., Inc. v. Nissan N. Am., Inc., No. 10-CV-3253, 2011 WL

6029733, at *3 (C.D. Ill. Dec. 5, 2011) (granting motion to dismiss waiver defense in Lanham

Act case). “A waiver can be express or implied.” Diamond State Ins. Co. v. Duke, No. 14 CV

7764, 2016 WL 1247473, at *4 (N.D. Ill. Mar. 30, 2016). Waiver is a “question of law that may

be decided on summary judgment.” Id.

       Shark points to the same evidence in support of its waiver defense that it used to support

its laches defense. (SOF 75.) Shark’s evidence is facially deficient. First, Shark relies on a

letter it sent to Dyson in May 2014                                                             .

(SOF 70.) Shark decision to send a letter is not an “intentional relinquishment” of a known right

by Dyson. And, as Shark, not Dyson, sent the letter, Dyson did not “manifest” anything. (SOF

71.) Second, Shark relies upon Dyson’s purchase of NV650 units in July 2014. (SOF 70.) If

anything, those facts should indicate to Shark that Dyson intended to test Shark’s performance

claims, not that it acquiesced to them. Because Shark cannot show that Dyson’s vacuum

purchase is “inconsistent with any intention other than to waive” a right to challenge Shark’s

claims, Shark’s defense fails as a matter of law. Diamond State, 2016 WL 1247473, at *4.

       C.     The Court Should Grant Summary Judgment On Shark’s Estoppel Defense

       To prevail on its estoppel defense, Shark must show: (1) an act or misrepresentation

made by Dyson; (2) Shark reasonably relied on the act or misrepresentation; and (3) Shark

thereby changed its position for the worse. Dyson, 951 F. Supp. 2d at 1036 (granting summary

judgment on estoppel defense).

       The only evidence Shark cites to support its estoppel defense is its contention that Dyson




                                                                                   (SOF 73.) At

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best, Shark cited only an “act” by Dyson. Dyson is unsure how Shark could rely to its detriment

upon Dyson’s use of a disclaimer on its own, unrelated claims. Indeed, Shark provides no

evidence that Shark “reasonably relied” upon Dyson’s disclaimers, or that Shark “changed its

position for the worse” in response to Dyson’s disclaimers. (SOF 73, 74.) Because Shark does

not have any evidence to support the elements of its estoppel defense, summary judgment is

appropriate.

V.     CONCLUSION

       For the reasons stated herein, Dyson respectfully asks that this Court grant Summary

Judgment in its favor.

       Dated: April 25, 2016                   Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2016, the foregoing document was filed electronically

through the Court’s Electronic Case Filing System. Service of this document is being made upon

all counsel of record in this case by the Notice of Electronic Filing issued through the Court’s

Electronic Case Filing System on this date.



                                              By: /s/ Robin A. McCue
